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IN THE ed Redes Pury Se
UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS -5 F" 2: 5°
Under Necessity

NICKOYAN WALLACE, In pro per.)
Petitioner,

V.

STEVEN W. TOMPKINS, Sheriff for
Suffolk County House of Correction and
Nashua Street Suffolk County Jail;
ROBERT L. ULLMANN, Suffolk Superior Court Judge,
MARY K. AMES, Suffolk Superior Court Judge,
CRAIG IANNINI, ESQ., agents/employees of COMMONWEALTH (INC.)
Respondents.

No.

Ref. Action No. 2184CR005877

PETITION FOR WRIT OF HABEAS CORPUS
Pursuant to Title 28 U.S.C. § 2241(a)(3)

The Undersigned hereby petition for a writ of habeas corpus, pursuant to Title 28 USC §
2241 (a) (3), seeking relief to remedy his unlawful detention at the Suffolk County Jail at 200
Nashua Street, Boston, MA 02114, ‘under color of law’’ and ‘color of process’ in violation of
the Constitution and laws and treaties of the United States.
CUSTODY
1. Petitioner is, and has been for the last 24 months and counting, in the physical custody of

Respondent Steven W. Tompkins, Sheriff for ‘Suffolk County Sheriff’s Department’, under

1. Petitioner is not ‘pro se’ or colorable & is in custody under the name/profile of Nickoyan Wallace, a legal fiction.
2. In re “Commonwealth v. Wallace, Nickoyan’.

3. See United States v. Classic, 313 U.S. 299 (1941), FN9, which interpreted § 242 of Title 18 of the United States
Code Annotated, which made criminally punishable, “Whoever, Under color of any law ... willfully subjects ... any
inhabitant ... to the deprivation of any rights, privileges, or immunities secured or protected by the Constitution and
laws of the United States”(emphasis added.)(“Color of law” obviously is synonymous with “color of authority”)

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(invalid) “Mittimus’ orders of Respondents Mary K. Ames and Robert L. Ullmann, and (invalid)
‘process’ of Respondents Mark D. Zanini and Craig Iannini, all natural persons acting as
agents/employees of Commonwealth (Inc.) as its judicial and executive officers.
JURISDICTION
2. This action arises under the Constitution for the United States, the ‘Moroccan-American
Treaty of Peace and Friendship of 1787’, the Universal Declaration of Human Rights (adopted
and proclaimed by the UN General Assembly resolution 217 A(IID of December 1948), the
“United Nations Declaration on the Rights of Indigenous Peoples’ (13 September 2007, GA Res.
61/295), the ‘Declaration on the Granting of Independence to Colonial Countries and Peoples’
(UN/GA), the ‘Declaration on the Principles of International Law, Friendly Relations and Co-
operation Among States in Accordance with The Charter of the United Nations’, the ‘American
Declaration of the Rights and Duties of Man’ (O.A.S Res. XXX, adopted by the Ninth
International Conference of American States Bogota, Colombia, (1948)); the ‘International
Covenant on Civil and Political Rights’ (GA/Res. 2200A (XXI), 16 December 1966), -Human
Rights, Part III*; the ‘Vienna Convention on the Law of Treaties” (1969), and the ‘UNCITRAL
Convention on International Bills of Exchange and Promissory Notes’ of December 8, 1988
(implemented in the UNITED STATES OF AMERICA on December 1, 1994), as adopted into
the United Nations Charter by which the United States, as a member State, is bound; and,
Executive Order 13107, 63 C.F.R. 68991 (1998) (Implementation of Human Rights Treaties), the

‘Foreign Sovereign Immunity Act’ (FSIA), 28 U.S.C § 1602 et seq., Title 12 U.S.C. §§ 95(a)(2)

4. Articles 10(a), 9, YJ 1 & 3, and Article 8, 1, and Articles 14(1), 3(a) and (d); Articles 24(3) and 26.

5. Entered into force on 27 January 1980, United Nations, Treaty Series, vol. 1155, p. 331. See the ‘LaGrand Case’,
(Germany v. United States of America, June 27, 2001) I.C.J. (International Court of Justice) Reports 2001, p. 466;
quoting Article 31, {| 1: “a treaty must be interpreted in good faith in accordance with the ordinary meaning to be
given to its terms in their context and in the light of the treaty’s object and purpose”; Article 26: “Every treaty in
force is binding upon the parties to it and must be performed by them in good faith”; and, Article 27: “A party may
not invoke the provisions of its internal law as justification for its failure to perform a treaty.” See also Articles 32 &
33.

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[& 95(b)] & HJR-192; the ‘Truth-in-Lending Act’ @Title 15 U.S.C. § 1601 et seq.; Title 18
U.S.C. §§ 2383, 2071, 2076, 1985, 1986, 1593A, 1587, 1585, 1584, 1583, 1582, 1581, 1341,
242, 241, 4 et seq.; the Uniform Commercial Code (UCC) and ORS 81.010 (per the rule of ‘in
pari materia’). This Court has jurisdiction under 28 U.S.C. § 2241, Art. I, § 9, cl. 2 (“Suspension
Clause”) of the Constitution for the united States of North America, as Petitioner is in custody
under color of authority of Commonwealth (Inc.) of Massachusetts and such custody is in
violation of the Constitution, laws, and treaties of the United States. This Court may grant relief
pursuant to 28 U.S.C. § 2241, and the ‘All Writs Act’, 28 U.S.C. § 1651.
VENUE

3. Venue lies in the United States District Court for the District of Massachusetts, the
judicial district in which Respondents Steven W. Tompkins, Mary K. Ames and Robert L.
Ullmann, Mark D. Zanini and Craig Iannini reside and conduct business, and where Petitioner is
unlawfully detained. 28 U.S.C. § 1391(e).

PARTIES
4. Petitioner is an Indigenous, Free and Sovereign Great Seal Moor® — of the Taino-Arawak
tribe — by Birth Right and Inheritance; United States Republic: Department of Justice: Moorish
American Credentials AA 222141 — Truth A-1. Petitioner is not a party to any contract or
commercial agreement with Respondents pledging himself and/or his personal private property
to any specified performance (conferring any right and duty) wherein there is breach giving

Respondents a ‘right/cause of action’; and is not a member’/employee of the Commonwealth

6. *Moors: the Indigenous Peoples of North, South and Central Al Morocs (Americas), including the
adjoining Islands.

7. As per Article I, § 2, 93 of, and § 2 of the 14" amendment to, the U.S. Constitution, Indian (Indigenous)
Tribes/People, as Petitioner, are not counted as members of the several States, and have no representative(s) by
which their consent is given, therein; and per the 9" and 10" amendments retains their sovereignty.

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who are bound to its statutory jurisdiction by consent of their constitutional representative body,

and/or Oath of Office/contract; but have exercised his natural, essential and unalienable Right of

‘self-determination’ and ‘autonomy’ to wit, the right to ‘self-governance’ and a Nationality, i.e.
to belong to his Indigenous Nation or Community (Moorish-American), and to his Indigenous
name/ethnic identity (“Szyon Nkrumah, Al©”), and to determine his ‘political status’, as
recognized and protected under Articles 2, 3, 4, 6, 8(2)(a), 9, 13(1) and 33 of the ‘United Nations
Declaration on the Rights of Indigenous Peoples’ (13 September 2007, GA Res. 61/295), and the
‘Free Moorish-American Zodiac Constitution’ (Birthrights of the Moorish Americans being Ali,
Bey, El, Dey and Al, Article II, 2; and, ‘Resolution 75 of April 17, 1933 A.D. (Moorish-
American Society of Philadelphia and the use of their names); and, the ‘Declaration on the
Granting of Independence to Colonial Countries and Peoples’ (UN/GA) Preamble, §§ 1 & 2;
and, Amendments IX & X of the U.S. Constitution; and, Article 15(1) & (2), and Article 13(1) &
(2) of the ‘Universal Declaration of Human Rights’ — United Nations. Petitioner is also the
Secured Party, Superior Claimant, Holder-in-due-Course®, and Principal Creditor’ and Director
having a registered priority lien-hold interest'® to all property held in the name of the
Debtor/subject NICKOYAN N. WALLACEO, ens legis (a Trust!! entity/transmitting utility),

evidenced by UCC 1 Financing Statement #200870330850 (re-filing and amend.

#201523652530, #201524205500 and 202293121710) filed with Respondents’ Secretary. As

such Petitioner is authorized to speak for, respond, and handle affairs (commercial or otherwise)
on behalf of the purported Debtor “NICKOYAN WALLACEO in respect to the documents

intended to discharge any purported debt/liability.

8. UCC § 3-302

9. UCC § 1-201(a)(13) “Creditor”

10. UCC § 1-201(a)(35) “Security Interest”

11. “Cestui Que Vie Trust” aka “Federal Municipal Trust”; Vital Statistics Chapter 2, § 7-201, 4 10.

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5. Respondent Steven W. Tompkins is the Sheriff/custodial officer of the Suffolk County
Jail which is within the judicial district of the United States District Court (District of Mass.),
where Petitioner is being detained under commitment Orders of Respondents Mary K. Ames and
Robert L. Ullmann; and under ‘process’ of Mark D. Zanini and Craig Iannini.
6. Respondents Mary K. Ames and Robert L. Ulhmann are natural persons acting as
agents/employees of Commonwealth (Inc.) within the judicial district of the U.S. District Court
(District of Mass.), as its judicial officers, and who, under color of said authority, have, and
continue to, deprive Petitioner of his liberty by said commitment (“Mittimus”) Orders to
Respondent Steven W. Tompkins.
7. Respondents Mark D. Zanini and Craig Iannini are natural persons acting as
agents/employees of Commonwealth (Inc.) within the judicial district of the U.S. District Court
(District of Mass.), as its executive officers who, under ‘color of process’ have, and continue to,
subject Petitioner to the deprivation of rights ‘under color of law’.

EXHAUSTION OF ADMINISTRATIVE REMEDIES
8. Petitioner has exhausted all administrative remedies to the extent required and made
available by law, as evidenced by (a) his ‘Affidavit of Notice of Default and Agreement’, with
Appendices (RRR#7011 3500 0002 0911 4790), Agreement Number A992022SNA, attached
hereto, incorporated herein by reference and made a part hereof as if fully reproduced, marked
Exhibit — “A”; and (b) pursuant to his ‘Petition for relief pursuant to G.L. c. 211, § 3’ to the
Supreme Judicial Court for Suffolk County and the SJC for the Commonwealth (SJC Rule 2:21),
invoking the Court’s “Superintendence power” to “prevent and correct errors and abuses” by its
inferior judicial (and executive) officers under “exceptional circumstances”; and (e) per the

instruments tendered in satisfaction/Discharge of any/all purported debt/liability of

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‘debtor/offender’ NICKOYAN N. WALLACEG® in the herein-above referenced action.

9. Petitioner’s only remedy is by way of this judicial action.
STATEMENT OF FACTS
10. _— Petitioner is a free sovereign Indigenous Moor who was domiciled in the Massachusetts

Republic Territory, America, in exercise of his right to “freedom of movement and residence
within the borders of each state” pursuant to Article 13(1) of the ‘Universal Declaration of
Human Rights’ (UN/GA Res. 217 ACID of December 1948), at all times relative to the incidents
delineated herein-throughout.

11. Following his unlawful (warrantless) arrest'* and seizure of his private property on May
29, 2021, by Respondents’ agents, Petitioner was charged and, on June 1, 2021, arraigned on a
criminal complaint brought by Respondent Mark Zanini (herein-after “Zanini”) in behalf of the
‘Commonwealth (Inc.), in the Boston Municipal Court (Inc.), Dorchester District, claiming
statutory liability against Petitioner under G.L. c. 265, § 1 (first degree murder) for the shooting
death of Ivanildo Gomes Barros in Boston on May 28, 2021, and related offenses. Petitioner was
ordered held w/out bail and a ‘Mittimus’ order was issued by the BMC judge remanding
Petitioner to the custody of Respondent Steven Tompkins (herein-after “Sheriff Tompkins”) at
the County Jail @ 200 Nashua Street, Boston, MA 02114, where he was processed/booked under
the profile WALLACE, NICKOYAN #2102260.

12. On or about July 1, 2021, Petitioner was again compelled to appear/participate in a

“status” hearing held at BMC (Inc.) Dorchester, where Respondent took notice of an open

12. A more detailed account of the facts surrounding this incident is found in Petitioner’s ‘Affidavit of Notice of
Protest & Rescission for Fraud & Misrepresentation; Status; Rebuttal & Removal of Presumptions & Request “Quo
Warranto” for Proof of Claim/Jurisdiction’ (which comprises the ‘corpus juris’ of the agreement #A992022SNA
between Petitioner and Respondents) @ pp. 6-10, ff 14-15.

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account (case) from March of 2000 which was superseded by a “True Bill” which, itself, was
“discharged” and “dismissed with prejudice” in 2015. Respondent then took leave to bring the
herein-above referenced matter before a ‘Grand Jury’ to exact a “True Bill” (indictment) and
another hearing date was set for August 16, 2021; and another ‘Mittimus’ order was issued
remanding Petitioner back into the custody of Sheriff Tompkins @ the Nashua Street County
Jail.

13. On or about July 28, 2021, the Petitioner, in propria persona, filed a “Special
Appearance” in BMC Dorchester, via an “Affidavit of Constructive Notice” in the nature of a
‘demurrer’ to, inter alia, the “legal sufficiency of process'*” for want of jurisdiction in the court
(of the ‘subject-matter’, the ‘case’, and of ‘Petitioner’, a Moor), and averment of the ‘cause of
action. See ‘Affidavit of Constructive Notice’@ pp. 11-12, 9 16, attached hereto and
incorporated herein by reference, as if fully reproduced, marked Exhibit “B.” Respondents
turned a blind-‘eye’ and lent a deaf-‘ear’ to Petitioner’s notice/demurrer.

14. On August 16, 2021, another hearing was held at which Petitioner was not brought to
Court, and where a continuance was granted Respondent, over objections, for ‘probable cause
hearing’, as Respondent was seeking an indictment in Boston Superior Court (inc.). Another
‘Mittimus’ was issued notwithstanding BMC district court no longer had jurisdiction over the
matter since, at that juncture, the 90-day time limit in which Respondent had to either establish
‘probable cause’ by indictment or ‘PCH’ in the district court had lapsed. However, Petitioner

remained in the custody of Sheriff Tompkins.

13. Specifically, Plaintiff (Commonwealth, Inc.) failed to state a valid ‘cause of action’ as a condition precedent for
establishing the requisite ‘standing’ for invoking the court’s authority; lack of a ‘Delegation of Authority Order’
from Congress per art. III, §§ 1 & 2 of the Constitution for the united States of America, as evidence of the Boston
Municipal Court being lawfully conferred judicial authorization/jurisdiction to hear and decide cases affecting the
treaty rights of Moors (as Petitioner); waiver of Petitioner’s ‘sovereign immunity (foreign) via consent, inter alia. Id.

@ pp. 11-12, 416.
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15. | On or about September 28, 2021, a Boston Superior Court (Inc.) ‘Grand Jury’ returned a
‘True Bill’ of indictment claiming statutory liability under G.L. c. 265, § 1 (and other related
charges) in the above-referenced action.

16. | On October 13, 2021, Petitioner was brought to Boston Superior Court (inc.) for
arraignment at which time two court officers approached Petitioner with a document titled
“notice of indictment” and another — “A True Bill” seeking Petitioner’s endorsement, upon
which he scribed “without prejudice, UCC 1-308, 1-103,” making explicit reservation of rights.
Shortly after, then appointed counsel Jonathan Shapiro came to the holding cell door to inform
Petitioner he would be brought before the court for the reading of the charges, at which time he
will have to enter a plea. Petitioner told Shapiro that the court officers approached him with the
“Indictment” seeking his signature, and that he made an explicit reservation of his rights by
scribing “without prejudice, UCC 1-308, 1-103.” Petitioner asked Shapiro if it was standard
procedure for Respondent to seek his endorsement of the indictment after making it via the
“Grand Jury” as matter of presumed right, to which Shapiro shrugged his shoulders in a show of
indifference (avoiding answering the question). Petitioner then told Shapiro he wanted to address
the court in order to assert his treaty rights and his ‘status’, but Shapiro adamantly protested
against Petitioner doing so, warning that it would harm him to do so; to “just say not guilty and
all your rights will be preserved.” Petitioner relied on Shapiro’s assurance, and after the
arraignment Respondent denied bail without prejudice and issued a ‘Mittimus’ order remanding
Petitioner to the custody of Sheriff Tompkins @ the Nashua Street County Jail.

17. From October 13, 2021 to July 14, 2022, several “notice of discovery” were filed by
Respondent, but relative to the factual allegations only. No averment of jurisdiction (of the

subject-matter, the ‘case’, or of Petitioner; or ‘cause of action’), nor any discussions concerning

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Petitioner’s treaty Rights relative to his status; just several hearings held via zoom where
Petitioner was compelled to appear in the person/profile of the putative debtor/defendant
NICKOYAN WALLACEG, with Shapiro — holding the colorable posture of attorney of record —
and Respondent present discussing discovery, protective orders, and certificates of compliance,
etc.

18. On May 27, 2022, Respondent falsely imprisoned Petitioner at the Suffolk County House
of Correction at “South Bay” @ 20 Bradston Street, Boston, MA 02118, (under color of

law: G.L. c. 276, § 52A) without Petitioner being duly convicted of any crime, where he was
itemized and booked under Account #2202966.

19. On August 17, 2022, Petitioner was, per Respondents’ request/order, discharged from the
Suffolk County House of Correction -“South Bay” and remanded back to the Suffolk County Jail
@ 200 Nashua Street where he remains to date in the custody of Sheriff Tompkins.

20. Over the course of the afore-stated time-periods, several verbal exchanges between
Petitioner and Shapiro, and some research on Petitioner’s own initiative, revealed that a conflict
of interest inherent in Shapiro’s status as an officer of the court was responsible for Shapiro’s
misleading counsel at the arraignment and throughout the proceedings, i.e. Shapiro’s refusal to
assert Petitioner’s treaty rights and counseling him against it in order to avoid challenging the
court’s authority in conflict with Shapiro’s fealty’* to the court, which is just one, but a crucial,
instance of the fraud and misrepresentation on Shapiro’s part, and for which Petitioner executed
a ‘notice’ directing Shapiro to ‘withdraw/conflict out’ for ‘fraud and misrepresentation’, filed on
September 6, 2022. See ‘Notice to Rescind/Withdraw for Fraud and Misrepresentation’ attached

hereto, and incorporated herein by reference as if fully reproduced, marked Exhibit —“C.”

14. Volume 7 Corpus Juris Secundum §§ 2, 3 & 4 (“attorneys are officers of the Court and their first duty

/obligation is to the court and the public, not his client”; and whenever the duties to his client conflict with those he
owes as an officer of the court in the administration of justice, the former must yield to the latter”).

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21. On or about September 9, 2022, Petitioner, in propria persona, filed a demurrer via
‘Affidavit! (Tracking RRR#7011 0002 3500 0911 4769) challenging, inter alia!®, the validity of
Respondents’ claim of ‘Right of Action’ (“standing”) as “Colorable,” and of ‘Judicial Authority
and Jurisdiction’ as lacking, turning the issue from one of ‘fact’ to one of ‘law,’ and requested
per writ of “Quo Warranto” (in the nature of a ‘Bill of Particulars/Discovery’) that — as a
condition precedent to proceeding — Respondent provide: (a) Proof of claim i.e., the facts from
which the ‘right of action’ emanates in accordance with Petitioner’s ‘due process’ right (6"

amend. U.S. Const.) to “fair Notice of the nature and cause” of the action “showing that

[Respondent] is entitled to relief,” Conley v. Gibson, 355 U.S. 41, as it is well established that

[Respondent] must state “something more than [factual allegations] that merely creates suspicion

of a legally cognizable right of action,” Swierkiewicz v. Sorema N.A., 534 U.S. 506, fn; and also

as per Connally v. General Const. Co., 269 U.S. 385 (“Notice and opportunity to defend are

essential elements of ‘due process’ of law”); See Affidavit of Notice @ { 24(ii) & (iii); and, (b)
the ‘Delegation of Authority Order’ (DOAO) from Congress per Article III, §§ 1 & 2 of the
Constitution for the United States of North America, as evidence of Respondents being lawfully
conferred ‘judicial authority and jurisdiction’ to hear and decide cases affecting the ‘Treaty
Rights of Moors (as Petitioner), in conformity with ‘due process’ as per Article 20 & 21 of the
“Moroccan-American Treaty of Peace and Friendship of 1787” (made per authority of the united

States'’) cases of the instant nature involving a Moor must be tried by the Law of the

15. “Affidavit of Notice of Protest & Rescission for Fraud & Misrepresentation; Status; Rebuttal & Removal of
Presumptions & Request “Quo Warranto” for Proof of Claim/Judicial authority & jurisdiction”, inter alia., wherein
Petitioner rescinded the “not guilty” plea and, without admitting/denying the “factual allegations, objected to the
legal sufficiency of Respondents’ “process/claim.”

16. e.g., (i) the “unlawful arrest/seizure of Petitioner and His property without a “certified copy of the lawful
arrest/seizure warrant signed/issued by a ‘de jure’ art. III judicial officer in accordance with the 4"" amend. To the
U.S. Constitution; (ii) misrepresentation of Petitioner’s true identity/status, i.e., his Indigenous (Moorish)
name/nationality as per his rights as declared, affirmed and protected by the U.S. Constitution, International Law
and Treaties.

17. To which the [Commonwealth (Plaintiff) of] Massachusetts was/is a party to the “Mutuality of Concessions” at
the Constitutional Convention for the Ratification of States to the United States of America.

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Country, in a Consular Justice Court, and with Consular assistance; said provisions being
enshrined in Article III, § 2 of the U.S. Const.(1791), and enforced per the “Supremacy Clause”
of Article VI which Declares “Treaties” the “Supreme Law of the Land,” and binding upon the
Judges in every State, “any Thing in the Constitution or Laws of any State to the Contrary
notwithstanding”; See Affidavit of Notice @ § 24(i); and, (c) proof of claim of ‘statutory
liability’ via ‘waiver’ of Petitioner’s sovereign immunity (foreign) ie., proof of Ratification of
the Convention of the Legislature of the Commonwealth (Inc.)/Respondent for the enactment of
statutes (as charged) to which Petitioner, a un-enfranchised nonparticipant, gave consent via said
Constitutional Representative'® Body; See Affidavit of Notice @ ¥ 24(iii); and, (d) Evidence to
support Petitioner’s unlawful arrest and seizure of his property, i.e. a certified copy of the alleged
Jawful arrest and seizure warrant signed/issued by a ‘de jure’ Article III judicial officer, which
orders Petitioner’s lawful arrest and seizure of his property in accordance with the 4"
Amendment to the Constitution for the United States of North America. See Affidavit of Notice
@ { 24(iv), attached hereto and incorporated herein by reference as if fully reproduced, marked
Exhibit — “D.”

22. Respondent had a binding ‘legal duty’ corresponding to Petitioner’s rights to provide said
‘proofs’ within three’? (3) days from receipt of the request, in conformity with ‘due process,’
otherwise dismissal with prejudice for lack of jurisdiction’®, inter alia. See Id. @ ¥ 25.

23. Respondents failed or otherwise refused or neglected the ‘duty’ to respond with said

proofs in violation of Petitioner’s ‘due process rights’.

18. Reference FN7.

19, The time constraints were such here because at the time the demurrer was filed approximately 16 months had
lapsed without the requested evidence, which were/are “conditions precedent” to be established before proceeding in
the matter in conformity with ‘due process’, being proved to exists.

20. As the deprivation of Petitioner’s liberty (and property) in the absence of said evidence amounted to (i)
conspiracy against rights (18 USC § 241); (ii) deprivation of rights under color of law (18 USC § 242); (aii)
denationalization under the “Black Code”; (iv) kidnapping; (v) hostage holding; (vi) human trafficking and slavery;
(vii) unlawful imprisonment; (viii) false identity; (ix) theft; (x) slander; (xi) fraud in the inducement; and (xii) denial
of Consular assistance in violation of treaty (human) rights and obligations, etc.

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24. On September 20, 2022, a status hearing was held where Respondent diverted attention
from Petitioner’s “demutrrer/request for proof” and took notice of his ‘Notice to withdraw’
(‘conflict out’) for ‘fraud and misrepresentation’ addressed to Shapiro, construing it as a ‘motion
to remove and replace counsel’ to which Petitioner objected clarifying for the record that he did
not file any such motion; that he gave a directive; that he is appearing “specially” — ‘in propria

Ahoy Respondent then attempted to force Petitioner into a representative

persona’ (“in Full Life
(colorable) capacity by suggesting on record that he is re-presenting himself “pro se’ over his
objection; and Petitioner refused for cause all/any offers to ‘proceed’ and “re-present” ‘himself?
“pro se”, or to accept appointed counsel (stand-by or otherwise) as an invitation to commit,
and/or participate in, fraud, forced assimilation/integration, and inducement to “waive” his
rights, privileges and immunities afforded him as a result of his status as an Indigenous, Free
Sovereign Great Seal Moor and legally in force by International and Federal Law. Petitioner
asked if Respondent received his ‘Affidavit’ to which Respondent affirmed but admitted not
reading it in its entirety, and stated: “Tl read it and address it.” Respondent then set a “colloquy”
for November 3, 2022, and issued another ‘Mittimus’ order remanding Petitioner back into the

custody of Sheriff Tompkins.

25. On October 18, 2022, Petitioner sent a “Notice of Default and Opportunity to Cure”
(Tracking RRR#7011 3500 0002 0911 4783) to Respondent giving Notice of Respondent’s
default in neglecting the ‘duty’ to respond to his request, per ‘Writ of Quo Warranto,’ for
‘proof’ of claim’ (discovery) of ‘right of action (“standing”) and ‘judicial authority/jurisdiction,’

by providing said ‘proofs’ within three (3) days from receipt of the request — as conditions

21. Sui Juris (Lat.): of his own Right; possessing full social and civil rights; not under any legal disability, or the
power of another, or guardianship; having capacity to manage his own affairs and enjoying private law rights.
Black’s Law 5" ed. p.754. See also (pro per’, ‘pro persona’, adv., & adj.; as opposed to ‘Pro Se’, which denotes
‘color or appearance of status/person’ and renders one “Civiliter Mortuus”, meaning: “civilly dead in the view of the
law; without civil rights and capacities” (e.g. Black, Negro, Colored, Latino, Minority, Artificial person, etc.)

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precedent to proceeding — otherwise dismissal with prejudice for lack of jurisdiction, and failure
to state a claim, inter alia.

26. In said ‘Notice’ it was stipulated that: (i) by Petitioner’s ‘demurrer’ to the validity of
Respondent’s claim of ‘right of action’ as “colorable” (invalid), and ‘judicial authority and
jurisdiction’ as lacking, via Affidavit, the issue turned from one of ‘fact’ to one of ‘law2”’ and,
(ii) Therefore Respondent was duty bound, under obligation of office and law, to provide the
requested evidence, as a condition precedent to proceeding, and by neglect of said duty have
violated “due ‘process’ and substantiated Petitioner’s demurrer (averments), by silent
acquiescence, and thereby tacit agreement, that “no such evidence exists” and, (iii) That by
proceeding notwithstanding Respondent is knowingly, willfully and intentionally subj ecting
Petitioner to the “deprivation of Rights, Privileges and Immunities, secured and protected by the
Constitution and laws of the United States, under color of law” (and process); and, (iv) that as
Petitioner’s un-rebutted/unopposed ‘Affidavit’ stands conceded” as the Truth, and thus
Judgment, discharge/dismissal with prejudice is warranted, for lack of judicial authority and
jurisdiction, failure to state a claim, and unlawful arrest and imprisonment; and that, (v) The

assessed damages against Respondent for (injury)”* the violation/deprivation of Petitioner’s

22. See Rosemand v. Southern Ry, 44 S.E. 574, 66 S.C. 91 (1903), quoting Pom. Code Rem. § 519: “Every ‘action’
is based upon some primary ‘right’ held by the Plaintiff and upon a ‘duty’ resting upon the defendant corresponding

to such right. By means of a wrongful act or omission of the defendant, this primary ‘right’ and this ‘duty’ are
invaded and broken; and there immediately arises from the ‘breach’ a new ‘remedial right’ of the Plaintiff, and a
new ‘remedial duty’ of the defendant. Finally, such remedial right and duty are consummated and satisfied by the
remedy, which is obtained through means of the ‘action’, and which is its object”; and § 520: “The first of these
branches must always, from the nature of the case, be a conclusion of law. The law, by its commands, creates a rule
applicable to certain facts and circumstances, by the operation of which, when these facts and circumstances exist. a
right arises, and is held by the Plaintiff, and a corresponding duty arises and devolves upon the defendant. *** This
first factor of the “cause of action” is therefore always a conclusion or proposition of law, and results from the
command of the supreme power in the state as its cause.”

23. See Benedict v. Super Bakery, Inc., 665 F. 3 1263 (2011) (“When a party fails to file [an opposition] to [a
demurrer by affidavit], the [affidavit is] treated as conceded”).

24. Title 42 U.S.C. § 1983 provides: “Every person who, under color of any statute, ordinance, regulation,
custom, or usage, of any State or Territory or the District of Columbia, subjects, or causes to be subjected,
any citizen of the United States or other person within the jurisdiction thereof to the deprivation of any
rights, privileges, or immunities secured by the Constitution and laws, shall be liable to the party injured in
an action at law, suit in equity, or other proper proceeding for redress ...“; and, per ‘Stare Decisis’ in United
States v. Classic, 313 U.S. 299 (1941), FN9, which interpreted § 242 of Title 18 of the United States Code

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rights, privileges, and immunities under color of law (process) is summed at $37, 505, 000.00,
said sum total to be assessed against Respondent “per diem” for each day Respondent continues
to so deprive Petitioner of his rights, privileges, and immunities, under color of law.

27. In said ‘Notice’ Petitioner offered to excuse Respondent’s default as a ‘ good-faith-
mistake’ conditioned upon Respondent providing the requested evidence as ‘proof’ of ‘standing’
(valid claim of ‘right of action’), judicial authority/jurisdiction (DOAO) ~ as a condition
precedent to proceeding — within a non-negotiable three (3) day ‘ grace period’ from receipt of
said ‘Notice’; and requesting that Respondent send a copy of the response to Petitioner’s “mail
escrow agent” c/o Stephanie Wallace, 255 Blue Hills Pkwy, Milton, MA 02186.

28. It was further stipulated by CAVEAT that failure of Respondent to ‘Cure fault’ will result
in a ‘default judgment’ against Respondent, and an ‘Affidavit re Default and Agreement” being
established upon the public and private records whereby Respondent will have ‘agreed’, by silent
acquiescence, and thereby tacit agreement, that: (a) Respondent has no valid claim of ‘right’ or
‘cause of action’ (“standing”); and, (b) Judicial authority/jurisdiction is lacking; and, (c)
Petitioner’s arrest, seizure of his property, and imprisonment at the ‘South Bay’ Suffolk County
House of Correction and the Nashua Street jail for the last 27 months (and counting)

was/is unlawful; and therefore, (d) discharge/dismissal of the proceeding under account (case)
No. 2184CR00587, with prejudice, is petitioner’s rightful remedy, as a matter of Law and

Equity; and thus, (¢) by proceeding notwithstanding Respondent is knowingly, willfully, and

Annotated, which made criminally punishable, “Whoever, Under color of any law ... willfully subjects ... any
inhabitant ... to the deprivation of any rights, privileges, or immunities secured or protected by the
Constitution and laws of the United States”(emphasis added.)(“Color of law” obviously is synonymous with
color of authority); and, also § 1981‘Equal rights under the law” (a) Statement of equal rights, (b) “Make and
enforce contracts” defined, and (c) Protection against impairment; and, per the ‘Universal Declaration of Human
Rights’ (UN/GA), Article 8: “Everyone has the right to an effective remedy by the competent national
tribunals for acts violating the fundamental rights granted him by the Constitution or by law”;

25. Such ‘Affidavit of Notice of Default and Agreement’ titled Agreement #A992022SNA, @ pp. 3-4 has been
established.

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intentionally subjecting Petitioner to the deprivation of rights, privileges, and immunities secured
and protected by the Constitution and laws of the United States ... under color of law (and color
of process). See ‘Notice of Default and Opportunity to Cure re Affidavit of Notice’, @ pp. 2-4,
{1 1-5; attached hereto and incorporated herein by reference as if fully reproduced, marked
Exhibit —“E.”
30. Ata November 3, 2022 hearing Respondent again attempted to force Petitioner into a
colorable “re-presentative” status relabeling his affidavit(s) and notice(s) as “pro se filings,” to
which he objected. For the record Petitioner stated his status and asserted his “Treaty” rights
secured and protected by the Constitution and laws of the United States. In support thereof,
petitioner handed Respondent an excerpt of the treaty document containing the relevant
provisions (Arts. 20 and 21)”° which unambiguously states: “Jfa Citizen of the United States
shall kill or wound a Moor, or on the contrary if a Moor shall kill or wound a Citizen of the
United States, the Law of the Country shall take place & equal Justice shall be rendered the
Consul assisting at the trial...” Respondent tried persuading Petitioner that Respondent is a court
of the Country to which Petitioner rebutted that Respondent is not a court of the Country within
the meaning of Article III”’ of the Constitution for the United States and Article 21 of said treaty.
Respondent then advised Petitioner that he can apply to the U.S. District Court, but that because

of the “serious charge(s)” Respondent is not just going to let him walk out back onto the streets.

26. Petitioner also handed the Respondent a copy of the ‘Free Moors Sundry Act of 1790’.

27. per Article IIL, §§1 & 2, “the U.S. Justice Courts retain jurisdiction over cases involving “treaties made under the
authority of the United States”; and, the ‘Moroccan-American Treaty of Peace and Friendship of 1787’ (between the
Moorish Nation and the United States) is such a ‘treaty’, and per the ‘Supremacy’ clause of Article VI of the
Constitution for the United States of North America, “Treaties are the Supreme Law of the Land, and the Judges in
every State are bound thereby, any Thing in the Constitution or Laws of any State to the Contrary notwithstanding”;
and per ‘Stare Decisis’ in Kolovrat v. Oregon, 366 U.S. 787 (1981), “A State cannot refuse to afford foreign
nationals their treaty rights because of fear that valid international agreements may not work completely to the
satisfaction of State authorities. Under the ‘Supremacy clause’ of the U.S. Constitution Article VI, cl.2, State
policies as to the rights of foreign nationals must give way to overriding federal treaties and conflicting agreements.”

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Respondent finally gave Petitioner the ultimatum of “pleading guilty” or “go to trial,” and when
Petitioner retorted that Respondent was not honoring his treaty rights Respondent left the bench.
Petitioner then stated for the record that Respondent has left the bench, and that there was no
court of competent jurisdiction... but Respondent muted Petitioner to avoid getting it on record.
No date was set for any future hearing, nor did Respondent answer Petitioner’s demurrer and
requests. Petitioner was then transported back into the custody of Sheriff Tompkins at the
Nashua street jail.

31. About a week-and-half later Petitioner was visited by an attorney”® unknown to him
stating he was “here to talk about stand-by counsel.” Petitioner asked the gentleman if he had a
contract with him, and he responded “no, but you don’t need a contract to just talk,” at which
time Petitioner refused consent, and the gentleman left.

32. On December 6, 2022, a hearing was held where Respondent, after construing
Petitioner’s “Notice of Default and Opportunity to Cure re Affidavit — Writ of Quo Warranto re
Proof of Claim/jurisdiction’ as a ‘motion to dismiss’, entered an order of denial without placing
the requested proofs into the record, thus conferring jurisdiction where none is proved to exist.
Petitioner voiced his intent to appeal Respondent’s invalid order. Respondent went on record
misrepresenting Petitioner’s status as “proceeding pro se” in order to perpetrate a ‘legal fiction’,
and appointed “stand-by counsel” and entered into an agreement about further proceedings set
for February 7, 2023 over petitioner’s objections. Respondent then made false misrepresentations
about full compliance with ‘discovery’ obligations knowing the opposite to be true. Respondent
then, by “Mittimus’, remanded Petitioner back to the custody of Sheriff Tompkins at the Nashua

Street Jail.

28. This person was later identified as Paul J. Davenport, Esq., appointed by Respondent without Petitioner’s
consent.

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33. Petitioner filed a notice of appeal with Respondent and on December 27, 2022, sought
‘interlocutory review of Respondent’s invalid judgment/order by Petition to the Supreme Judicial
Court for Suffolk County pursuant to G.L. c. 211, § 3, invoking the court’s “‘Superintendence
power” to “correct and prevent errors and abuses” by its inferior officers. On February 3, 2023,
the appeal was docketed as No. SJ-2023-0051.
34. On February 7, 2023, another hearing was held where Respondent addressed a notice
Petitioner filed for “assembly of Record” for appeal of Respondent’s invalid memo./order.

Petitioner attached his ‘Affidavit of Notice of Default and Agreement’ (Agreement #

A992022SNA), and ‘Affidavit of Notice of Understanding, Intent and Claim of Right’, to be
included among the record for appeal. Respondent continued to misrepresent Petitioner’s status
as “pro se” and had “stand-by counsel” (Paul Davenport) present over Petitioner’s
objections/assertions of his treaty rights to Consular assistance in a (Article IH/Consular) court
with power to decide the case. Respondent set another date for March 28, 2023, and issued
another “Mittimus’ order remanding Petitioner back into the custody of Sheriff Tompkins.

35. In a judgment/order dated February 15, 2023, a single justice, Kafker, J., denied, “without
hearing,” the Petition holding that “it is well established that an indictment or criminal complaint
cannot be appealed as a matter of right until after trial, and that a petition for extraordinary relief
under G. L. c. 211, § 3, absent a double jeopardy claim of substantial merit, cannot be used to
circumvent this rule” (citing Quigley v. Commonwealth, 480 Mass. 1026 (2018); Pfeiffer v.

Commonwealth, 466 Mass. 1032 (2013)); that “[t]he remedy in the normal appellate process is

adequate.” See Judgment/order attached marked Exhibit-“F.”
36. On March 6, 2023, Respondent received and docketed Petitioner’s ‘Notice of Intent to
Sue’ dated February 15, 2023. See ‘Notice’ attached marked Exhibit-“G.”

37. On or about February 23, 2023, Petitioner appealed to the Full Supreme Judicial Court
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pursuant to SJC Rule 2:21 the single Justice’s judgment/order denying, without hearing, his
petition for interlocutory review, which was docketed as No. SJC-134017°. On or about March 7,
2023, Petitioner filed a ‘Memorandum of Law’ in support of said appeal, and on April 10, 2023,
Petitioner filed a ‘Supplemental Memorandum of Law’ to the aforesaid Memorandum. See
‘Memorandums’ attached hereto and incorporated herein by reference as if fully reproduced,
marked Exhibit-“H.” In a judgment dated May 25, 2023, the SJC affirmed the single justice’s
denial of review.

38. On or about March 28, 2023, Petitioner filed, and Respondent received and recorded, his
‘Notice*’ of Re-Assertion of Ri ghts, Objections; Rebuttal/Removal of Presumptions & Final
Request for “Delegation of Authority Order’ from Congress per Article III, §§ 1 & 2 of the US.
Constitution, as Evidence of Judicial Authority/Jurisdiction being Lawfully Conferred upon the
Boston Superior Court (Inc.) to Hear and Decide Cases affecting the Treaty Rights of Moors (as
Petitioner) as a condition precedent to proceeding, otherwise dismissal with prejudice for lack
thereof, constituting agreement’, wherein Petitioner conditionally accepted Respondent’s
presumption of authority/jurisdiction, and claim of right of action (liability for redress)
predicated upon Respondent providing the requested proofs of the aforesaid. See ‘Notice of Re-
Assertion of Rights’ attached hereto and incorporated herein by reference as if fully reproduced,
marked Exhibit-“T.”

39. Another status hearing was held on March 28, 2023, where Respondent, while

29. Respondent appears to have erroneously reference this appeal as No. SJ-2023-0051; See docket entry 31,

30. Petitioner asserted his treaty rights to a fair hearing before an Article I1/Consular court with the power to decide
the case, with Consular assistance, and notice of the ‘cause of action’; and objected to Respondent’s fraudulent and
continual misrepresentations of his status as ‘pro se” in order to perpetrate the fraud that Petitioner has elected to
represent himself and proceed under the authority of Respondent in waiver of his due process rights as aforesaid;
and the fraudulent appointment of ‘stand-by counsel’ over the assertion of his treaty rights to Consular assistance, as
well as rebuttal/removal of all other false presumptions/pretenses under which Respondent has been, and, continue
to proceed.

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acknowledging receipt of Petitioner’s ‘Notice of Re-Assertion of Rights’, declined to hear it, and
instead acknowledged the dismissal/withdrawing of Respondent Mark Zanini from the case and
the addition of Respondent Craig Iannini as successor. Over Petitioner’s objection Respondent
took leave to get up to speed with the case in preparation for trial notwithstanding Respondent
having no entitlement to try the case to a jury as of right, as, heretofore, Respondent has failed to
provide any evidence demonstrative of such right, or of the authority to decide the case in
conformity with due process, and in response to Petitioner’s demurrer (averments) that no such
evidence exists. Respondent set another date for May 18, 2023, and another ‘Mittimus’ issued
remanding Petitioner back into the custody of Sheriff Tompkins at the Nashua Street jail.
40. On May 9, 2023, after establishing an agreement between himself and Respondent upon
the demurrer that Respondent has no valid ‘cause of action’ and therefore lacks ‘standing’ and
thus ‘subject-matter jurisdiction’ (as well as authority of the case and Petitioner), and
Respondent’s failure to challenge the demurrer, out of legal duty and good faith, by providing
the requested ‘proof of claim’; and by neglect of said duty have violated ‘due process’ and
substantiated the demurrer (averments) by silent acquiescence, and thereby tacit agreement, that
“no such evidence exists”, Petitioner, in exercise of his right to ‘remedy’, therefore, tendered to
Respondents instruments”! for discharge (with prejudice) of the charges and release of the
detainers of NICKOYAN WALLACEO based on “insufficiency of process” as aforesaid. Said
instruments was received by Respondent on or about May 11, 2023, and, upon acceptance,
Respondents were duty bound to discharge/terminate the proceedings (with prejudice), or
Respondents will have breached the agreement and commit various violations of Federal and

State law. See ‘Notice of Acceptance for Value and Return for Discharge’ — ‘Request for

31. Notice of Acceptance for Value and Return for Discharge (in the nature of plea of Confession and Avoidance)
RRR #7022 0410 0001 0718 3259, w/attachments, for failure to state a claim upon which relief may be granted
(“insufficiency of process”), inter alia.

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Settlement and Closure’ w/attachments, attached hereto and incorporated herein by reference as
if fully reproduced, marked Exhibit-“J.”
41. On May 18, 2023, a hearing was held at which Respondent, after having received and
accepted the instruments tendered for discharge, failed or refused to perform in accordance with
the agreement and ‘public policy’; and instead diverted attention to information (Boston EMS
Records) regarding the ‘factual allegations’ Respondent gave to ‘stand-by’ counsel to avoid
communicating directly with Petitioner. Petitioner objected that he is not a party to any
agreement between Respondent and ‘stand-by’ counsel, and that such party is not authorized to
speak/act in Petitioner’s behalf in any capacity; and so Petitioner refused to participate in the
transaction. Respondent then resorted to intimidation and oppressive tactics, threatening to
remove Petitioner for being disruptive because he asserted his rights, and that Petitioner will be
watching the proceedings via zoom. Respondents and ‘stand-by’ counsel then discussed among
themselves a time for trial, “late September or early next year.” Respondent then left the bench
while saying “you will receive notice of your next court date.” Another ‘Mittimus’ was issued
and Petitioner was remanded back to the custody of Sheriff Tompkins at the Nashua Street Jail.
42. On May 23, 2023, Petitioner received, at the Nashua street jail, a letter addressed to
NICKOYAN WALLACEO form Paul Davenport, giving notice of “final pre-trial” and “trial”
dates of January 9, 2024 and January 23, 2024, by order of Respondent notwithstanding
Petitioner’s ‘Acceptance for Value’ of Respondents’ presentments/offer(s) (“True Bill”-
indictment) and ‘Return for Discharge’ as remedy based on “insufficiency of process” for want
of authority/jurisdiction, failure to state a (valid) ‘cause of action’, and unlawful arrest and

imprisonment, inter alia; and upon which Respondent (by agreement and law) has a binding

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(legal) duty of performance, and is not entitled to proceed as of right.*”
43. On May 25, 2023, Petitioner served upon Respondents, via first class mail (RRR #7022
0410 0001 0718 3242), a ‘Notice of Default and Opportunity to Cure Acceptance for Value of
Dishonor, Second Request for Settlement and Closure or Remedy’ re Respondents’ failure to
perform in accordance with ‘Public Policy’ (and per agreement) upon receipt of the instruments
tendered in exchange for discharge of the public charges at the termination of the proceedings
via Petitioner’s ‘Acceptance for Value and Return for Discharge, Settlement and Closure of the
account(s) as afore-stated @ {| 42. See said ‘Notice’ attached hereto and incorporated herein by
reference as if fully reproduced, marked Exhibit-“K.” Respondents had five (5) days from receipt
of said ‘Notice’ to cure Respondents’ ‘fault’ and ‘dishonor’ by performance as requested (and
required by law) or agree to be bound to the terms and conditions for remedy as disclosed
therein, where Respondents’ ‘failure’ “will evidence Respondents’ willful and intentional
volition to act outside the scope of Official duties in violation of Respondents’ fidelity and Oath
of Office Contract, absent the mantle of official (judicial) immunity.”
44. On or about May 29, 2023, Respondents received Petitioner’s ‘Notice’ (id. @ § 43) but
elected to remain in ‘default’ and ‘dishonor’ by Respondents’ non-performance (contrary to
law), and, by proceeding notwithstanding, is thus, knowingly, willfully and intentionally acting

3

outside the scope of Official”’ duties to the injury of Petitioner in his person/rights to wit:

32. As there is no issue of material fact in dispute as Petitioner, by his “Acceptance,” has eliminated any controversy
in the matter, rendering the proceedings moot. See Doctrine of Mootness: The ‘doctrine of mootness’ holds that
“[a] case becomes moot when due to intervening circumstances a controversy between the parties no longer exists.”
Crest Pontiac Cadillac, Inc. v. Hadley, 239 Conn. 437, 439 n.3, 685 A. 2"? 670 (1996). “The ‘doctrine of mootness’
holds that before a claimed controversy is entitled to adjudication on the merits, it must be demonstrated that an
actual controversy exists.” Department of Public Safety v. Freedom of Information Commission, 930 A.2™ 739, 742
(Conn. App. 2007) (Gruendel, J.) compare Uzuegbunam v. Preczewski, 141 S. Ct. 792 (2001) (“doctrine of
‘standing’ generally assesses whether that [personal] interest exists at the outset, while ‘doctrine of mootness’
considers whether it exists throughout the proceedings”).

33. Said acts being deemed “Coram non judice.” See Coram non judice: In the presence of a person not a judge.
When a suit is brought and determined in a court which has no jurisdiction in the matter, then it is said to be “coram
non judice,” and the judgment is void. See Manufacturing Co. v. Holt, 51 W. Va. 352, 41 S.E. 351. See also ‘Void
judgment’, (18c); Black’s Law, Sth pocket ed. @ p. 436.

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“deprivation of rights, privileges and immunities secured and protected by the Constitution and
laws and treaties of the United States ... under color of law” (and process).
45. Thus, Respondents acts/omissions in continually detaining Petitioner as afore-stated (@
{ff 1 - 44), is capricious and arbitrary and is not legally justifiable, rising to the level of criminal
culpability; and the interest of justice and equity now prays the power of this Court to lift the
undue restraints upon Petitioner’s liberty, therefore.

CLAIMS FOR RELIEF

COUNT ONE
CONSTITUTIONAL CLAIM

46. Petitioner alleges, and incorporates by reference §| 1 through 45 above, that his detention
violates his rights to substantive and procedural due process guaranteed by the 5"" Amendment
(and 4", 6", 8", 10" 13 & 14" amends.; and art. VI, c. 1, 2 & 3; art. IV, §§ 1 & 4; art. II, §§ 1
& 2; art. I, § 2, § 3, and § 10, and § 2 of the 14% amend.) to the U.S. Constitution.

COUNT TWO
STATUTORY CLAIM

47. Petitioner alleges, and incorporates by reference §§ 1 through 46, that his detention
violates Title 12 U.S.C. §§ 95(a)(2) [& 95(b)] & HJR-192; the ‘Truth-in-Lending Act’ @Title 15
U.S.C. § 1601 et seq.; the ‘Foreign Sovereign Immunity Act’ (FSIA), 28 U.S.C §§1330(a, b),
1602 et seq.; UCC §§ 1-103, 1-104, 1-308, 10-104, 1-201(4)(28)(30), 3-103(a)(6), 3-104(a)(b)
and §§ 3-310(b), 3-311, 3-419, 1-209.9°, and 3-603; and ORS 81.010°° (per the rule of ‘in pari

materia’); and, Title 18 U.S.C. §§ 2383, 2071, 2076, 1985, 1986, 1593A, 1587, 1585, 1584,

34. Timely to “remedy and recourse.”

35. ORS 81.010; “effect of unaccepted offer in writing to pay or deliver an offer in writing to pay a particular sum
of money or to deliver a written instrument or specific personal property, is, if not accepted, equivalent to the actual
production and tender of the money or instrument or property.” Compare e.g., UCC § 3-603.

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1583, 1582, 1581, 1341, 242, 241, 4 et seq.; the ‘Derelict Official Act (sec. 10204, R.S. Mo.
1909) — in pari materia; the ‘Free Moors Sundry Act of 1790’ and the Constitution.

COUNT THREE
TREATY RIGHTS/OBLIGATIONS VIOLATION

48. Petitioner alleges, and incorporates by reference {J 1 through 47, that his detention

violates Articles 26-31 of the ‘Vienna Convention on the Law of Treaties*®’(1969); the

‘Moroccan-American Treaty of Peace and Friendship of 1787’ Articles 4, 7, 19, 20 & 21; the
‘United Nations Declaration on the Rights of Indigenous Peoples’ (13 September 2007, GA Res.

61/295) Articles 2, 3, 4, 6, 8(2)(a), 9, 13(1), 18, 33 and 37; the ‘Universal Declaration of Human

Rights’ (UN/GA) Articles 3, 4, 5, 6, 8, 9, 10, 13(1) & (2) and 15(1) & (2); the ‘American
Declaration of the Rights and Duties of Man’ (O.A.S Res. XXX, adopted by the Ninth
International Conference of American States Bogota, Colombia (1948)) Articles V, XVII and
XXVI; the ‘Declaration on the Granting of Independence to Colonial Countries and Peoples’
(UN/GA) Preamble, §§ 1 & 2; the ‘International Covenant on Civil and Political Rights’
(GA/Res. 2200A (XX), 16 December 1966), -Human Rights, Part III, Articles 10(a), 9, Wl&

3, and Articles 8, 4 1, 14(1), 3(a) and (d), 24(3) and 26; the ‘UNCITRAL Convention on

International Bills of Exchange and Promissory Notes’ of December 8, 1988 (implemented in the
UNITED STATES OF AMERICA on December 1, 1994); the ‘Declaration on the Principles of
International Law, Friendly Relations and Co-operation Among States in Accordance with The

Charter of the United Nations’; and ‘Executive Order 13107’, 63 C.F.R. 68991 (1998)

36. Entered into force on 27 January 1980, United Nations, Treaty Series, vol. 1155, p. 331. See the ‘LaGrand
Case’, (Germany v. United States of America, June 27, 2001) I.C.J. (International Court of Justice) Reports 2001, p.
466; quoting Article 31, { 1: “a treaty must be interpreted in good faith in accordance with the ordinary meaning to
be given to its terms in their context and in the light of the treaty’s object and purpose”; Article 26: “Every treaty in
force is binding upon the parties to it and must be performed by them in good faith”; and, Article 27: “A party may
not invoke the provisions of its internal law as justification for its failure to perform a treaty.” See also Articles 32 &
33. And “no State can, by any tribunal or representative, render nugatory a provision of the Supreme Law”
Thompson v. Whitman, 18 Wall. 457, 458; ref. art. VI (“Supremacy clause”), U.S. Const.

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(Implementation of Human Rights Treaties) §§ 1, 2, 3, and 4, and the Constitution.

COUNT FOUR
MAXIMS, CANONS, AND DOCTRINES OF LAW

49. Petitioner alleges, and incorporates by reference J 1 through 48, that his detention
violates the following maxims, doctrines, canons and principles of law: ‘due process, good faith,
equity, ‘even-handed’, accord and satisfaction, acquittance, “wbi jus, ibi remedium*’,” ‘extra-
territoriality canon’, ‘artificial-person canon’, fraud in the inducement, silent acquiescence,
estoppel, estoppel by acquiescence, tacit agreement, judicial estoppel, estoppel by agreement,
default judgment, void proceeding, void judgment, ‘coram non judice’, stare decisis, ‘Pacta sunt
servanda’, non-assumpsit, supremacy-of-text principle (“four-corner” rule), presumption against
waiver of sovereign immunity’’, presumption against implied right of action, standing’”,
mootness, super-precedent”’; and, “Truth is sovereign. Truth is expressed via affidavit. An
affidavit can only be rebutted via affidavit point-for-point. A un-rebutted affidavit stands as the
truth, and thus judgment; and he who leave the field of battle first loses by default”; and the
Constitution and laws and treaties of the United States relative thereto.

COUNT FIVE
SCRIPTURAL INJUNCTION

50. Petitioner alleges, and incorporates by reference {J 1 through 49, that his detention

37. The principle that where one’s right is invaded or destroyed, the law gives a remedy to protect it or damages for
its loss ... Marbury v. Madison, 5 U.S. 137 (1803) (“every right when withheld, must have a remedy, and every
injury its proper redress”)

38. The doctrine that a statute does not waive sovereign immunity and a federal statute does not eliminate state
sovereign immunity, unless that disposition is unequivocally clear. See Will v. Michigan Dep’t of State Police, 491
U.S. 58 (1989) (“Un order for a sovereign to be bound by a statute, the sovereign must be specifically named”):
and United States v. United States Fidelity & Guaranty Co., 309 U.S. 506 (1940), “it is inherent in the nature of
‘sovereignty’ not to be amenable to suit without consent”; and, Abate v. Fremont Inv, & Loan, 470 Mass. 821
(2015), “Sovereign immunity bars statutory claims and thus court lacks subject-matter-jurisdiction”; and, Cruden
v. Neale, 2 N.C. 338 (1796) 2 S.E., “[] every man is independent of all laws, except those prescribed by nature. He is
not bound by any institutions formed by his fellowman without his consent.”

39. “If ‘a cause of action’ fails as a matter of law, regardless of whether the plaintiff's factual allegations are true or
not,” then the Court must dismiss. Winnett v. Caterpillar, Inc., 553 F.3™ 1000 (6" Cir. 2009).

40. “Where rights secured by the Constitution are involved, there can be no rule making or legislation which would
abrogate them.” Miranda v. Arizona, 384 U.S. 436, 491 (1964).

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violates Mathew 5:25(“settle*’ matters quickly with your adversary who is taking you to court
.[]"); & 5:33([], do not break your ‘Oath’, [] fulfill [] the ‘vows’ you have made.”); &
Mathew 6:24-27(“[] exemption”); & Corinthians 4:2 (“{] Trust/‘good faith’”) & 4:6; & John
7:24(“[] do not judge by ‘general appearances”, [] judge correctly”) & 15:20(“[] a servant is
not greater than his master”) et seq. and the Constitution and laws and treaties of the United
States relative thereto.
Sl. If he prevails, Petitioner request fees and costs under the Equal Access to Justice Act
(“EAJA”), as amended, 28 U.S.C. § 2412.

PRAYER FOR RELIEF

WHEREFORE, as there is no other available means to remedy Petitioner’s unlawful
detention since Respondents have elected to act outside the scope of official duties (under color
of authority), said acts being deemed, by law, ‘coram non judice’, rendering the proceedings
(records), judgments and orders** null and void’, and thus, the issue of “availability and
adequacy of remedy in the normal process of appeal” moot; and since the SJC for Suffolk county

and the SJC for the Commonwealth are unwilling to extend their ‘Superintendence power’ to the

41. Ref. Exhibit-“J”, “Notice of Acceptance for Value, Return for Discharge Settlement and Closure’ w/International
Bill of Exchange No.NW01092023BOE; and per Agreement No.A992022SNA.

42. Is there aid for a “‘Widow’s son’?

43. ‘Mittimus’, judgment/order of denial etc.

44. See ‘Void Judgment’: (18c) A judgment that has no legal force or effect, the invalidity of which may be
asserted by any party whose rights are affected at any time and any place, whether directly or collaterally. * From its
inception, a void judgment continues to be absolutely null. It is incapable of being confirmed, ratified, or enforced in
any manner or to any degree. One source of a void judgment is the ‘lack of subject-matter jurisdiction.’ Black’s
Law, 5" ed. @ p. 436. See Starbuck v. Murray, 5 Wendell, 156 (“when a court proceeds without authority of the
case [or ‘subject-matter’], the proceedings and judgments are void, and, therefore, the supposed record is, in truth,
no record”). See also The United States vy. Arredondo, 10 Peters, Id. 475(“Where a court has jurisdiction, it has a
right to decide every question that occurs in the cause, and whether its decision be correct or otherwise, its
judgment, until reversed, is regarded as binding []. But, if it acts without authority, its judgments and orders are
regarded as nullities; they are not voidable, but simply void”).

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“correct[ion] and prevent[ion]’ of the “errors and abuses” by Respondents, Petitioner prays this
Court grants the following relief:

1. Assume jurisdiction over this matter;

2. Issue an order directing Respondents to show cause why the writ should not be
granted;

3. Issue a writ of habeas corpus ordering Respondents to release Petitioner (and his
property 1.e., cell phone, boots, etc.) upon discharge/termination of the proceedings;

4. Award Petitioner reasonable costs and fees; and,

5. Grant any other relief which this Court deems just and proper.

THEREFORE, | affirm knowing the pains and penalty of perjury [28 U.S.C. § 1746(1)]
that the above declarations made by me without the United States federal government, is true,
correct, complete and certain, the truth, the whole truth and nothing but the truth, in accordance
with my spiritual convictions and creed.

Dated: this A A day of September, 2023 A.D.

In Peace and Light.

I Am DD L /

Cc ‘oz vu, WV uya Cif, , In propria persona, sui juris, Indigenous, Free
Sovereign Great Seal Moor — of the Tdino-Arawak Tribe; by Birthright and Inheritance; United
States Republic: Department of Justice: Moorish American Credentials AA 222141 —
Truth A-1; Petitioner/Third Party Intervener/Affiant and Auth. Rep. for WALLACE, NICKOYAN

Attachment(s):
Exhibits “A” — “K’’

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AFFIDAVIT OF CERTIFICATION
OF SERVICE/MAILING

I, the undersigned Petitioner, hereby certify by affirmation that on September DG. 2023,
I mailed, via first class mail, a true and correct copy of the foregoing ‘Petition for a writ of
habeas corpus’ to the following Respondents’:

Steven W. Tompkins, Sheriff for Suffolk County
Executive Office/Sheriff Department

20 Bradston Street

Boston, MA 02118

(617) 635-1000

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Craig Iannini, Esq., ADA/counsel for Commonwealth (Inc.)
District Attorney’s Office

1 Bulfinch Place

Boston, MA 02114

(617) 619-4000

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THEREFORE, I affirm knowing the pain and penalty of perjury [28 U.S.C. § 1746(1)] that the
above declaration made by me without the United States federal government is true, correct, and
not meant to mislead; the truth and nothing but the truth in accordance with my spiritual creed
and convictions.

An Vp,
CC SZ erly J Ksnith, 993, In propria persona, sui juris, Indigenous, Free

Sovergign Great Seal Moor — of the/faino-Atawak Tribe; by Birthright and Inheritance; United
States Republic: Department of Justice: Moorish American Credentials AA 222141 —
Truth A-1; Affiant. In care of “Vills” posting location: 200 Nashua Street, Boston [021 14] _
without recourse, UNTED STATES POST OFFICE, Massachusetts Republic Territory,
America. Szyon Nkrumah, Al©1993, “All Rights Reserved,” A ffiant.

*Moors: the Indigenous Peoples of North, South and Central Al Morocs (Americas), including the adjoining Islands.

3. Although this petition is just now again being filed with this court, the parties have received a copy since June 22,
2023. For reasons beyond my control my first attempt at filing the ‘habeas corpus’ petition in June 2023 was
hampered during the mailing process.
